 Case: 1:16-cv-08637 Document #: 4113 Filed: 12/18/20 Page 1 of 5 PageID #:276635




                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE BROILER CHICKEN ANTITRUST              No. 1:16-cv-08637 TMD
LITIGATION


This Document Relates To:

All Commercial and Institutional Indirect
Purchaser Plaintiff Actions


      ORDER GRANTING COMMERCIAL AND INSTITUTIONAL INDIRECT
    PURCHASER PLAINTIFFS’ UNCONTESTED MOTION FOR PRELIMINARY
    APPROVAL OF SETTLEMENTS WITH DEFENDANTS PECO FOODS, INC.,
    GEORGE’S, INC., AND GEORGE’S FARMS, INC. AND FOR CONDITIONAL
        CERTIFICATION OF THE PROPOSED SETTLEMENT CLASSES
 Case: 1:16-cv-08637 Document #: 4113 Filed: 12/18/20 Page 2 of 5 PageID #:276636




       Now before the Court is Commercial and Institutional Indirect Purchaser Plaintiffs’

(“CIIPPs”) Motion for Preliminary Approval of Settlements with (1) Defendant Peco Foods, Inc.

(“Peco”), and (2) Defendants George’s, Inc., and George’s Farms, Inc. (together, “George’s,”

and collectively with Peco, “Settling Defendants”).

       The Court, having reviewed the Motion, its accompanying memorandum and the exhibits

thereto, the Settlement Agreement between Peco and CIIPPs (“Peco Settlement Agreement”), the

Settlement Agreement between George’s and CIIPPs (“George’s Settlement Agreement”), and

the file, hereby ORDERS AND ADJUDGES:

       1.     This Court has jurisdiction over this action and each of the parties to the

Settlement Agreement.

       2.     This Court certifies a Settlement Class defined as

         All entities who indirectly purchased Broilers from Defendants or co-
         conspirators in the United States during the Class Period for their own use in
         commercial food preparation, including institutional purchasers such as
         hospitals, nursing homes, and schools.

         Specifically excluded from this Class are: (a) natural persons who purchased
         Broilers for their personal use and not for commercial Food preparation (End-
         User Consumers); (b) purchasers of Broilers directly from Defendants; (c)
         purchasers of Broilers for resale in unaltered form; (d) purchasers of value
         added products containing Broilers, that are not manufactured, supplied or
         processed by Defendants, or otherwise not under the control of Defendants; (e)
         the Defendants; (f) the officers, directors or employees of any Defendant; (g)
         any entity in which any Defendant has a controlling interest; and any affiliate,
         legal representative, heir or assign of any Defendant; (h) any federal, state
         governmental entities, any judicial officer presiding over this action and the
         members of his/her immediate family and judicial staff; (i) any juror assigned to
         this action; and (j) any Co-Conspirator identified in this action.

The Class Period is the period from and including January 1, 2008 through July 31, 2019. This

class definition is in all material respects the same settlement class proposed in CIIPPs’




                                                1
 Case: 1:16-cv-08637 Document #: 4113 Filed: 12/18/20 Page 3 of 5 PageID #:276637




Complaint, and the same class set forth in the Settlement Agreement. See Peco Settlement

Agreement, § II.E.2; George’s Settlement Agreement, § II.E.2.

       3.      The Court appoints the law firms of Cotchett, Pitre & McCarthy LLP and

Gustafson Gluek, PLLC as Co-Lead counsel for the Settlement Class.

       4.      Upon review of the record, the Court finds that the proposed Peco Settlement

Agreement has been negotiated at arm’s length, falls within the range of possible approval and is

hereby preliminarily approved, subject to further consideration at the Court’s Fairness Hearing.

The Court finds that the Peco Settlement Agreement is preliminarily determined to be fair,

reasonable, adequate, and in the best interests of the Class, raises no obvious reasons to doubt its

fairness, and raises a reasonable basis for presuming that the Settlement and its terms satisfy the

requirements of Federal Rules of Civil Procedure 23(c)(2) and 23(e) and due process so that

notice of the Settlement may be given to the Settlement Class when appropriate.

       5.      The Court further finds that the proposed George’s Settlement Agreement has

been negotiated at arm’s length, falls within the range of possible approval and is hereby

preliminarily approved, subject to further consideration at the Court’s Fairness Hearing. The

Court finds that the George’s Settlement Agreement as well is preliminarily determined to be

fair, reasonable, adequate, and in the best interests of the Class, raises no obvious reasons to

doubt its fairness, and raises a reasonable basis for presuming that the Settlement and its terms

satisfy the requirements of Federal Rules of Civil Procedure 23(c)(2) and 23(e) and due process

so that notice of the Settlement may be given to the Settlement Class when appropriate.

       6.      At a later time, Co-Lead Counsel will move the Court to approve a program to

notify members of the Settlement Class of these and any other then-pending settlements, as the




                                                 2
 Case: 1:16-cv-08637 Document #: 4113 Filed: 12/18/20 Page 4 of 5 PageID #:276638




Court finds it would be more efficient and economical to defer the notice and claims process

until a later time.

        7.      After Class Notice has been approved and disseminated, the Court shall hold a

hearing on the Proposed Settlements to determine whether they are fair, reasonable, and

adequate, and whether they should be finally approved by the Court (the “Fairness Hearing”).

        8.      After Notice has been disseminated, Class Members who wish to exclude

themselves from either Settlement will be required to submit an appropriate and timely request

for exclusion, and Class Members who wish to object to either Settlement must submit an

appropriate and timely written statement of the grounds for objection. Class Members who wish

to appear in person to object to either Agreement may do so at the Fairness Hearing pursuant to

directions by the Court.

        9.      Terms used in this Order that are defined in the Settlement Agreements are, unless

otherwise defined herein, used as defined in the Settlement Agreements.

        10.     If Either Settlement Agreement is terminated or rescinded in accordance with its

provisions, or otherwise does not become Final, then the Settlement Agreement and all

proceedings in connection therewith shall be vacated, and shall be null and void, except insofar

as expressly provided otherwise in the Settlement Agreement, and without prejudice to the status

quo ante rights of CIIPPs, the Settling Defendant, and the members of the Class. The Parties

shall also comply with any terms or provisions of the Settlement Agreement applicable to

termination, rescission, or the Settlement otherwise not becoming Final.

        11.     Neither this Order nor either of the Settlement Agreements shall be deemed or

construed to be an admission or evidence of any violation of any statute, law, rule, or regulation

or of any liability or wrongdoing by either of the Settling Defendants or of the truth of any of



                                                 3
 Case: 1:16-cv-08637 Document #: 4113 Filed: 12/18/20 Page 5 of 5 PageID #:276639




CIIPPs’ Claims or allegations, nor shall it be deemed or construed to be an admission nor

evidence of Released Parties’ defenses.

       12.    The Action with respect to CIIPPs’ Claims is stayed as to the Released Parties (as

that term is defined in the Settlement Agreements) except as necessary to effectuate this

Settlement.

       IT IS SO ORDERED.


                                                   __________________________
                                                   HON. THOMAS M. DURKIN




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